Case 1:19-cr-00137-PWG Document 891 Filed 08/31/21 Page 1 of 9
+ JTW: 07.02.21

   

U.S. Department of Justice

 

 

United States Attorney. \\\\o) GU MARYL
District of Maryland
Matthew DellaBetta Suite 400 ~ DIRECT; 410-209-4857
Assistant United States Attorney 36 S. Charles Street a> po MAIN: 410-209-4800
Matthew. DellaBetta@usdoj. gov Baltimore, MD 21201-3119 ee
July 2, 2021
Julie Reamy, Esq.
VIA EMAIL

Re: United States v. Edward Buddy Hall, Criminal No. PWG-19-137

 

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, Edward Buddy Hall (hereinafter
“Defendant”), by the United States Attorney’s Office for the District of Maryland (“this Office’’).
If this offer is not accepted by July 9, 2021, it will be deemed withdrawn. If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. The terms
of the Agreement are as follows:

Offense of Conviction

1. The Defendant agrees to plead guilty to Count Two of the Fourth Superseding
Indictment, which charges him with Conspiracy to Distribute One Kilogram or More of Heroin,
in violation of 21 U.S.C. § 846. The Defendant admits that the Defendant is, in fact, guilty of the
offense and will so advise the Court.

Elements of the Offense
a The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows: from 2016 to on or about
April 3, 2019, in the District of Maryland:
a. There existed an agreement between two or more persons to distribute and possess with
intent to distribute 1 kilogram or more of mixture or substance containing a detectable

amount of heroin;

b. The Defendant knew of this agreement; and
Case 1:19-cr-00137-PWG Document 891 Filed 08/31/21 Page 2 of 9
c. The Defendant knowingly and voluntarily participated in or became a part of this

 

 

 

 

 

 

 

 

 

 

 

agreement.
Penalties
3. The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:
COUNT | STATUTE | MAND. MIN. MAX MINIMUM MAX FINE | SPECIAL
IMPRISON- IMPRISON- | SUPERVISED ASSESS-
MENT MENT RELEASE MENT
1 21 U.S.C. | 10 years Lifetime 5 years $10,000,000 | $100
§ 846 imprisonment
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

& Restitution: The Court may order the Defendant to pay restitution pursuant to 18
U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

é. Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.
Case 1:19-cr-00137-PWG Document 891 Filed 08/31/21 Page 3 of 9

Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government’s witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

d. The Defendant would have the right to testify in the Defendant’s own defense if
the Defendant so chose, and the Defendant would have the right to refuse to testify. If the
Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

& If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s
decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
Case 1:19-cr-00137-PWG Document 891 Filed 08/31/21 Page 4 of 9

* the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

a. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28
U.S.C.§§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agree to the following applicable sentencing guideline factors:

a. The base offense level for Count One is 30 pursuant to United States Sentencing
Guidelines (“U.S.S.G.”) § 2D1.1(c)(5).

b. This Office does not oppose a two-level reduction in the Defendant’s adjusted offense
level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s
criminal conduct. This Office agrees to make a motion pursuant to U.S.S.G. §
3E1.1(b) for an additional one-level decrease in recognition of the Defendant’s
acceptance of personal responsibility for the Defendant’s conduct. This Office may
oppose any adjustment for acceptance of responsibility under U.S.S.G. § 3E1.1(a) and
may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if the Defendant: (1)
fails to admit each and every item in the factual stipulation; (ii) denies involvement in
the offense; (iii) gives conflicting statements about the Defendant’s involvement in the
offense; (iv) is untruthful with the Court, this Office, or the United States Probation
Office; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in

4
Case 1:19-cr-00137-PWG Document 891 Filed 08/31/21 Page 5 of 9

any criminal conduct between the date of this Agreement and the date of sentencing;
(vii) attempts to withdraw the plea of guilty; or (viii) violates this Agreement in any
way.

c. Therefore, the total offense level is 27.

7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income. The Defendant agrees the Defendant will not raise any argument that any

specific prior conviction is not a predicate for a career offender designation under U.S.S.G.
§ 4B1.1.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines

are in dispute or will be raised in calculating the advisory guidelines range.
\

Rule 11(c)(1)(C) Plea

9, The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a sentence of no less than 120 months of incarceration (10 years) and no more
than 144 months of incarceration (12 years) is the appropriate disposition in this case. This
agreement does not affect the Court’s discretion to impose any lawful term of supervised release,
restitution, or fine, or to set any lawful conditions of probation or supervised release. If the Court
rejects this plea agreement, either party may elect to declare the agreement void. Should the
Defendant elect to do so, he will be afforded the opportunity to withdraw his plea pursuant to the
provisions of Federal Rule of Criminal Procedure 11(c)(5).

10. The parties also agree that a sentence of no less than 120 months of incarceration
(10 years) and no more than 144 months of incarceration (12 years) is a reasonable and
appropriate sentence, taking into consideration the nature and circumstances of the offense, and
the Defendant’s criminal history, and all of the other factors set forth in 18 U.S.C. § 3553(a).

Obligations of the Parties

 

11. At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable sentence, period of supervised release, and/or fine considering any
appropriate factors under 18 U.S.C. § 3553(a). This Office reserves the right to bring to the Court’s
attention all information with respect to the Defendant’s background, character, and conduct that
this Office deems relevant to sentencing, including the conduct that is the subject of any counts of
the Indictment. At the time of sentencing, this Office will move to dismiss any open counts against
the Defendant.

12. ‘In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

5
Case 1:19-cr-00137-PWG Document 891 Filed 08/31/21 Page 6 of 9

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s).

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

(i) The Defendant reserves the right to appeal any sentence that exceeds the
statutory maximum; and

(11) This Office reserves the right to appeal any sentence below a statutory
minimum; and

c. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Forfeiture

12. The Defendant agrees to forfeit to the United States all of his right, title, and interest
in any and all money, property, or assets of any kind, derived from or acquired as a result of, or
used to facilitate the commission of, the Defendant's illegal activities, including the following:

a. one Ruger 9mm pistol bearing serial number TYE83852 and ammunition

13. The Defendant agrees to assist fully the United States in the forfeiture of the
foregoing assets. The Defendant agrees to take all steps necessary to pass to the United States
clear title to these assets, including but not limited to executing any and all documents necessary
to transfer his interest in any of the above property to the United States, assisting in bringing any
assets located outside the United States within the jurisdiction of the United States, and taking
whatever steps are necessary to ensure that assets subject to forfeiture are not sold, disbursed,
wasted, hidden or otherwise made unavailable for forfeiture. The Defendant further agrees that he
will not assist a third party in asserting a claim to the foregoing assets in an ancillary proceeding.

14. The Defendant knowingly waives all constitutional, legal and equitable defenses to
the forfeiture of the foregoing assets. It is further understood that, in the event that the United
States files a civil action pursuant to 18 U.S.C. § 981 or any law enforcement agency initiates a
forfeiture proceeding seeking to forfeit these assets, the Defendant will not file a claim with the
Court or agency or otherwise contest such a forfeiture action and will not assist a third party in

6
Case 1:19-cr-00137-PWG Document 891 Filed 08/31/21 Page 7 of 9

‘ ‘asserting any such claim. It is further understood that the Defendant will not file or assist anyone
in filing a petition for remission or mitigation with the Department of Justice concerning the
forfeited assets.

15. | The Defendant agrees to identify all other assets and identify the sources of income
used to obtain all other assets, including identifying all assets derived from or acquired as a result
of, or used to facilitate the commission of, any crime charged in the Indictment. The United States
reserves the right to proceed against any remaining assets not identified in this agreement,
including any property in which the Defendant has any interest or control.

Defendant’s Conduct Prior to Sentencing and Breach

16. a. Between now and the date of the sentencing, the Defendant will not engage
in conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any
federal, state, or local law; will acknowledge guilt to the probation officer and the Court; will be
truthful in any statement to the Court, this Office, law enforcement agents, and probation officers;
will cooperate in the preparation of the presentence report; and will not move to withdraw from
the plea of guilty or from this Agreement.

b. If the Defendant engages in conduct prior to sentencing that violates the
above paragraph of this Agreement, and the Court finds a violation by a preponderance of the
evidence, then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office
may make sentencing arguments and recommendations different from those set out in this
Agreement, even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any
criminal or civil proceeding, this Office will be free to use against the Defendant all statements
made by the Defendant and any of the information or materials provided by the Defendant,
including statements, information, and materials provided pursuant to this Agreement, and
statements made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of
Criminal Procedure. A determination that this Office is released from its obligations under this
Agreement will not permit the Defendant to withdraw the guilty plea. The Defendant
acknowledges that the Defendant may not withdraw the Defendant’s guilty plea—even if made
pursuant to Rule 11(c)(1)(C)—f the Court finds that the Defendant breached the Agreement. In
that event, neither the Court nor the Government will be bound by the specific sentence or
sentencing range agreed and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

17. The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing
findings different from those stipulated in this Agreement, or if the Court imposes any sentence up
to the maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations
under this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

7
Case 1:19-cr-00137-PWG Document 891 Filed 08/31/21 Page 8 of 9

Entire Agreement

18. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Jonathan F. Lenzner

United States
VY | be
By:

Matthew DellaBetta
Peter J. Martinez
Assistant United States Attorneys

  

 

[have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

T/6/Z/

Date

  

 

Edward Buddy Hall

J am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary on

TM flo]

Date Julie Reamy, Esq.

 
Case 1:19-cr-00137-PWG Document 891 Filed 08/31/21 Page 9 of 9
ATTACHMENT A

STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

From October 2018 through April 2019, the Federal Bureau of Investigation (“FBI”)
intercepted phone communications of a Drug Trafficking Organization (“DTO”) operating in and
around the Baltimore metropolitan area. Interceptions revealed that the DTO used phones to
arrange heroin, cocaine base, and fentanyl sales to drug users and drug redistributors from
Maryland, Virginia, West Virginia, and Pennsylvania.

The DTO operated on a nearly daily basis and sold thousands of dollars in narcotics on a
daily basis. For example, interceptions revealed that the DTO frequently sold over 100 grams of
heroin mixed with fentanyl on a daily basis. Customers of the DTO believed they were purchasing
heroin, but the DTO adulterated all heroin it sold with fentanyl. Street-level distributors in the
DTO worked in shifts, sharing phones they used to communicate with DTO leadership and
customers.

Interceptions, electronic, and physical surveillance identified that the Defendant,
EDWARD BUDDY HALL, served as a street-level distributor for the DTO. HALL sold large
quantities of heroin laced with fentanyl daily. For example, interceptions of HALL revealed that
he often sold over 100 grams of heroin per day. HALL was intercepted daily discussing drug sales
to customers with other members of the DTO, requesting resupplies of narcotics, discussing drug
quality and customer complaints, and coordinating the return of drug proceeds to supervisors. Over
the course of the conspiracy, HALL distributed over one kilogram of heroin to street-level
distributors.

SO STIPULATED:

 

 

DATED: Matthew DellaBetta
Peter J. Martinez.
Assistant United States Attorneys

DATED: aff1 Bt api ppt

 

Edward Hall

    

Julie gamy, Esq.
Counsel for Defenda
